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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )              CASE NO. 8:11CR424
                                          )
                    Plaintiff,            )
                                          )                 MEMORANDUM
             v.                           )                  AND ORDER
                                          )
FERMIN ALTAMIRANO-RAMIREZ,                )
                                          )
                    Defendant.            )

      The Defendant has filed what appears to be a pro se motion seeking relief under

Sentencing Guideline Amendment 782.

      IT IS ORDERED that:

      1.     The Defendant’s pro se motion (Filing No. 205) will be held in abeyance

      pursuant to General Order No. 2014-09; and

      2.     The Clerk shall provide the Defendant with a copy of this order and General

      Order No. 2014-09. The Clerk shall also give notice of the entry of this order to the

      United States Attorney, to the Federal Public Defender, and to the Supervisory

      United States Probation Officer who handles presentence reports.

      DATED this 31st day of December, 2014.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
